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   Myers & Galiardo, LLP   I 52 Duane Street, 7FI., New York, NY 10007 I 212-986-5900 I www.citylaw.nyc
    BY ECF:
    Honorable P. Kevin Castel                                      January 7, 2021
    United States District Judge
    Daniel Patrick Moynihan
    United States Courthouse
    500 Pearl Street
    New York, NY 10007-1312

                                         USA v. Pivnik
                                        19 CR 464 (PKC)
    Your Honor,

    I represent Bryan Pivnick who is currently scheduled for sentencing January
    26, 2021 before Your Honor. Because of the unique circumstances behind
    Mr. Pivnick’s case, the Defense will not be consenting to any form of remote
    electronic sentencing procedure.

    In light of the uptick in Covid cases and the most recent administrative court’s
    directive to limit in-person appearances we request the matter be adjourned
    until April 7, 2021 at 2:00pm.

    I have consulted with the Government, which has no objection to this
    adjournment request.



Application granted. Sentencing is
adjourned to April 7, 2021 at 2:00 p.m.                                 Respectfully,
SO ORDERED.
Dated: 1/8/2021                                                         /s/Matthew D. Myers
                                                                        Attorney for Defendant




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